 

 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Records and information associated with the cellular
device assigned 414-418-8150 that is stored at premises
controlled by AT&T

20m Sl

Case No.

 

Se a ee ae

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

over which the Court has jurisdiction pursuant to Title 18, United States Code, Sections 2703 and 2711, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
[XI evidence of a crime;
LC] contraband, fruits of crime, or other items illegally possessed;
C property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. § 241

The application is based on these facts: See attached affidavit.

1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

FBI Special Agent Jessica Krueger
Printed Name and Title

Judge ’s signature

Sworn to before me and signed in my presence: = cote
Date: Schone 7 QVRO «

City and State: Milwaukee, Wisconsin Honorable William E. Callahan, U.S. Magistrate Judge
Printed Name and Title

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 1of16 Document 1

 
 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Jessica Krueger, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant
under Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for
information about the location of the cellular telephone assigned call number 414-
418-8150, (the “Target Cell Phone”), whose service provider is AT&T, (“Service
Provider”) a wireless telephone service provider with its global legal demand center
headquartered in North Palm Beach, FL. The Target Cell Phone is described herein
and in Attachment A, and the location information to be seized is described herein
and in Attachment B.

2. I am a Special Agent with the FBI and have been since November
2009. I am involved in investigations of persons suspected of violations of Federal
law in the State of Wisconsin and throughout the United States. I am currently
assigned to the Milwaukee Field Office, where I conduct a variety of investigations
in the area of counterterrorism, including domestic and international terrorism. I
have investigated and assisted in the investigation of matters that involve the use
of computers, telephones, encrypted messaging platforms and other electronic
devices in furtherance of criminal activity.

3. The facts in this affidavit come from my personal observations, my

training and experience, my review of documents, and information obtained from

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 2 of16 Document 1
 

 

other agents and witnesses. This affidavit is intended to show merely that there is

probable cause for the requested warrant and does not set forth all of my knowledge
about this matter.

4. Based on the facts set forth in this affidavit, there is probable cause to
believe that violations of 18 U.S.C. § 241 (conspiracy against rights) have been
committed by Yousef Omar Barasneh. There is also probable cause to believe that
the location information described in Attachment B will constitute evidence of these
criminal violations, and will lead to the identification of individuals who are
engaged in the commission of these offenses.

5. The court has jurisdiction to issue the proposed warrant because it is a
“court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the
Court is a district court of the United States that has jurisdiction over the offense
being investigated, see 18 U.S.C. § 2711(8)(A)(@).

PROBABLE CAUSE

6. The FBI is investigating criminal activity by members of an
organization called “The Base,” a neo-Nazi group that aims to unify militant white
supremacists around the globe and provide them with paramilitary training in
preparation for a “race war.” As described herein, one or more individuals
associated with “The Base” are suspected of vandalizing a synagogue in Racine,
Wisconsin, in September 2019, in violation of, among other things, 18 U.S.C. § 241,
which makes it a felony to “conspire to injure, oppress, threaten, or intimidate any

person in any State, Territory, Commonwealth, Possession, or District in the free

2

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 3of16 Document 1
 

exercise or enjoyment of any right or privilege secured to him by the Constitution or

laws of the United States.” As part of the investigation, agents have identified the
Target Cell Phone number as being associated with an individual believed to be
involved in the Racine synagogue attack.

7. On September 22, 2019, law enforcement officers in Wisconsin
discovered that the Beth Israel Sinai Congregation located at 3009 Washington
Avenue Racine, Wisconsin had been vandalized. Specifically, the officers saw
swastikas, the symbol for The Base, and anti-Semitic words spray-painted on the
exterior of the building. The synagogue is an active organization comprised of
Jewish members who worshiped and conducted other religious activities therein.

8. Similarly, on September 21, 2019, law enforcement officers in Hancock,
Michigan discovered that the Temple Jacob had been vandalized. Specifically, they
saw swastikas and the symbol of The Base spray-painted on the exterior of the
building. As with the synagogue in Racine, Wisconsin, the synagogue in Michigan is
an active organization comprised of Jewish members who worshiped and conducted
other religious activities therein.

9. Based on my training and experience and familiarity with this
investigation, I am aware that The Base is a white racially motivated extremist
group that describes itself as a “international survivalism & self-defense network,
for nationalist of European descent,” and offers “IRL” (in real life) survivalist
training to resist “our People's extinction,” or the extinction of the white race.

Members of The Base communicate with each other through online platforms and

3

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 4of16 Document 1
 

encrypted online messaging applications and chat rooms. In these communications,
they have discussed, among other things, acts of violence against minorities
(including African Americans and Jewish-Americans), Base military training
camps, and ways to make improvised explosive devices (“IEDs”). The symbol used
by The Base is a black flag with three white Runic Eihwaz symbols.

10. Based on information I have received during the course of this
investigation, I am aware that The Base has been active in Wisconsin and that
there are members of the “North Central region,” alternatively known as the “Great
Lakes cell,” based in Wisconsin. For instance, in early June 2019, Base recruitment
flyers were posted at Marquette University in Milwaukee, WI. In July 2019, The
Base organized an armed training session for members in Wood County, Wisconsin,
and posted photos to social media about the session. And, as noted above, the
symbol for The Base was discovered spray-painted on the Beth Israel Sinai
Congregation synagogue in Racine, WI.

11. As part of the investigation, the FBI received information from an
individual associated with The Base, who I will refer to as co-conspirator #1 (“CC1”).
In statements to the FBI between October 2019 and December 2019, CC1 admitted
that in September 2019, he directed other members of The Base to vandalize
minority-owned properties throughout the country. CC1 called this “Operation

Kristallnacht”! and directed others to “tag the shit” out of synagogues. Based on my

 

1 Based on publicly available information, I am aware that Operation Kristallnacht, or the Night of
Broken Glass, is an event that occurred in Nazi Germany on November 9 and 10, 1938. During this

4

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 5of16 Document 1

 
 

 

 

training and experience and familiarity with this investigation, I believe that CC1
meant that synagogues should be spray-painted with anti-Semitic graffiti. Further,
based on my training and experience and familiarity with this investigation, |
believe that a goal of such action is to intimidate and threaten Jewish citizens who
use the synagogue for worship and other religious activities. CC1 further elaborated
on his instructions to other Base members, stating that “if there's a window that
wants to be broken, don't be shy.” CC1 told the FBI that the operation was
nationwide, and that CC1 knew members of The Base’s Great Lakes cell carried out
attacks against synagogues in Wisconsin and Michigan.

12. CC1 stated that the person who carried the attack on the synagogue in
Racine, Wisconsin, was a Base member known as “Joseph” or “Josef.” CC1 stated
that Joseph was a member of The Base’s Great Lakes cell and was from Wisconsin.
According to CC1, after the Racine synagogue attack, Joseph sent CC1 a message
on an encrypted platform with a news article about the attack and wrote something
to the effect of “here’s what I did.”

13. CCl stated that CC1 had never met Joseph in person. But, they had
communicated with each other via encrypted messages, and CC1 knew Joseph to be

a large individual as Joseph’s large size was a common joke in The Base chat rooms.

 

time, Jewish homes, hospitals, and schools throughout Germany were ransacked and demolished by
Nazi paramilitary soldiers and civilians. The name "Kristallnacht" comes from the shards of broken
glass that littered the streets after the windows of Jewish-owned stores, buildings, and synagogues
were smashed.

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 6of16 Document 1

 
 

 

CC1 and Joseph had planned to meet in person at a Base meeting in Georgia in late

October/early November 2019, but CC1 ultimately did not attend that meeting.

14. Information provided by CC1 has been corroborated by investigators.
For instance, in November 2019, the FBI obtained a search warrant for CC1’s
residence and electronic devices. In CC1’s electronic devices, investigators found
evidence showing that that around September 17, 2019 and again on September 21,
2019, CC1 conducted multiple Google searches for “Kristallnacht.” Following the
search for “Kristallnacht” on September 17, 2019, CCI used an internet browser to
access an encrypted messaging application known to be utilized by members of The
Base. The digital evidence showed that CCI accessed the encrypted messaging
application and visited a section of the application that was labeled with the symbol
for The Base.

15. On September 23, 2019, CC1 conducted multiple Google searches for
“racine, wi,” “racine wi nazi,” and “racine wi anti-semitic.” CCI also accessed news
websites and Twitter that had posted articles and comments on the Racine
synagogue vandalism. Further, the device evidence shows that on September 23,
2019, CC1 accessed the same encrypted messaging application noted above. The
evidence showed that CCI accessed a section of the encrypted messaging application
that was labeled with “JOSEPH.” Based on my training and experience and my
involvement in this investigation, I believe that CC1 was using the encrypted

messaging application to exchange messages with members of The Base, including

“JOSEPH.”

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 7 of 16 Document 1
 

16. CCl has been arrested and charged in another federal district court

with violating 18 U.S.C. § 241. The charges relate to CC1’s conduct in directing
other Base members to attack synagogues in Racine, Wisconsin, and Hancock,
Michigan, as described above.

17. As part of the investigation, agents identified several dates and
locations where members of the Base were believed to have been. This included (1)
July 27, 2019, the date that The Base conducted training at the Wood County Firing
Range, 3705 Marsh Road, Town of Seneca, Wood County, WI 54495; and (2) the
evening of September 21, 2019, when the Beth Israeli Sinai Congregation located at
3009 Washington Avenue Racine, Wisconsin, was vandalized.

18. Thereafter, pursuant to a court order, agents obtained information
about cell phone connections to towers near those locations on those dates. The cell
towner information revealed that, on July 27, 2019, between 7:00 a.m. and 7:00
p.m., the Target Cell Phone number pinged approximately 78 times off the tower
close to 3705 Marsh Road, Town of Seneca, Wood County, WI 54495. The
information further showed that on September 21, 2019, between 8:55 p.m. and
10:08 p.m., the Target Cell Phone number pinged approximately 5 times off the
tower close to 3009 Washington Avenue, Racine, Wisconsin.

19. Records show that during the relevant time period, the Target Cell
Phone number has been issued by AT&T to subscriber Omar Ali Barasneh and user
Yousef Barasneh, with a billing address 1101 E Forest Hill Avenue, Oak Creek,

Wisconsin 53154. Police records further show that on October 24, 2017, Yousef

7

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 8 of16 Document 1

 
 

 

Omar Barasneh, the adult son of Omar Ali Barasneh, had contact with the Oak

Creek Police Department and reported to the officers that the Target Cell Phone
number was his (Yousef’s) phone number. Records from the Wisconsin Department
of Motor Vehicles show that Yousef Omar Barasneh was born 11/26/1997, lists 1101
E Forest Hill Avenue, Oak Creek, Wisconsin 53154, as his residence, and that he is
6’2” and 300 lbs.

20. The evidence sought through this applied-for search warrant is
relevant for investigators to determine, among other things, the activities of the
Target Cell phone user with regard to The Base and synagogue vandalism.

In my training and experience, I have learned that the Service Provider is a
company that provides cellular communications service to the general public. I also
know that providers of cellular communications service have technical capabilities
that allow them to collect and generate information about the locations of the
cellular devices to which they provide service, including cell-site data, also known as
“tower/face information” or “cell tower/sector records.” Cell-site data identifies the
“cell towers” (i.e., antenna towers covering specific geographic areas) that received a
radio signal from the cellular device and, in some cases, the “sector” (i.e., faces of
the towers) to which the device connected. These towers are often a half-mile or
more apart, even in urban areas, and can be 10 or more miles apart in rural areas.
Furthermore, the tower closest to a wireless device does not necessarily serve every
call made to or from that device. Accordingly, cell-site data provides an approximate

general location of the cellular device.

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 9of16 Document 1
 

 

Cell-Site Data

21. Based on my training and experience, I know that the Service Provider
can collect cell-site data on a prospective basis about the Target Cell Phone. Based
on my training and experience, I know that for each communication a cellular
device makes, its wireless service provider can typically determine: (1) the date and
time of the communication; (2) the telephone numbers involved, if any: (3) the cell
tower to which the customer connected at the beginning of the communication; (4)
the cell tower to which the customer was connected at the end of the
communication; and (5) the duration of the communication. I also know that
wireless providers such as the Service Provider typically collect and retain cell-site
data pertaining to cellular devices to which they provide service in their normal
course of business in order to use this information for various business-related
purposes.

Subscriber Information

22. Based on my training and experience, I know that wireless providers
such as the Service Provider typically collect and retain information about their
subscribers in their normal course of business. This information can include basic
personal information about the subscriber, such as name and address, and the
method(s) of payment (such as credit card account number) provided by the
subscriber to pay for wireless communication service. I also know that wireless
providers such as the Service Provider typically collect and retain information about

their subscribers’ use of the wireless service, such as records about calls or other

9

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 10o0f16 Document 1
 

 

communications sent or received by a particular device and other transactional

records, in their normal course of business. In my training and experience, this
information may constitute evidence of the crimes under investigation because the
information can be used to identify the Target Cell Phone’s user or users and may
assist in the identification of co-conspirators and/or victims.

AUTHORIZATION REQUEST

23. Based on the foregoing, I request that the Court issue the proposed
warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure
Al.

24. Ifurther request that the Court direct the Service Provider to disclose
to the government any information described in Section I of Attachment B that is
within its possession, custody, or control.

25. Because the warrant will be served on the Service Provider, who will
then compile the requested records at a time convenient to it, reasonable cause
exists to permit the execution of the requested warrant at any time in the day or

night.

10

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 11o0f16 Document 1
 

 

ATTACHMENT A

Property to Be Searched
Records and information associated with the cellular device assigned 414-
418-8150 (referred to herein and in Attachment B as “the Target Cell Phone”), that
is in the custody or control of AT&T (referred to herein and in Attachment B as the
“Provider”), a wireless communications service provider with its global legal

demand center headquartered at 11760 U.S. Highway 1, North Palm Beach, FL.

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 120f16 Document 1
 

 

ATTACHMENT B

Particular Things to be Seized

I. Information to be Disclosed by the Provider

To the extent that the information described in Attachment A is within the

possession, custody, or control of the Provider, including any information that

has been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required

to disclose to the government the following information pertaining to the

Account listed in Attachment A:

a. The following subscriber and historical information about the
customers or subscribers associated with the Target Cell Phone for the
time period January 1, 2019 through the present:

i.

il.

ill.

lV.

Vi.

Names (including subscriber names, user names, and screen
names);

Addresses (including mailing addresses, residential addresses,
business addresses, and e-mail addresses);

Local and long distance telephone connection records;

Records of session times and durations, and the temporarily
assigned network addresses (such as Internet Protocol (“IP”)
addresses) associated with those sessions;

Length of service (including start date) and types of service
utilized:

Telephone or instrument numbers (including MAC addresses,
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile Equipment Identifier (“MEID”);
Mobile Identification Number (“MIN”), Subscriber Identity
Modules (“SIM”), Mobile Subscriber Integrated Services Digital
Network Number (“MSISDN”); International Mobile Subscriber

2

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 13 0f16 Document 1

 
 

II.

Vil.

Vill.

 

Identity Identifiers (“IMSI”), or International Mobile Equipment
Identities (““IMET’);

Other subscriber numbers or identities (including the
registration Internet Protocol (“IP”) address); and

Means and source of payment for such service (including any
credit card or bank account number) and billing records;

ix. All records and other information (not including the contents of

communications) relating to wire and electronic communications
sent or received by the Target Cell Phone account, including:

(i) the date and time of the communication, the method of the
communication, and the source and destination of the
communication (such as the source and destination telephone
numbers (call detail records), email addresses, and IP
addresses); and

(ii) information regarding the cell tower and antenna face (also
known as “sectors” through which the communications were
sent and received),

Information to be Seized by the Government

All information described above in Section IJ that constitutes evidence of

violations of 18 U.S.C. § 241 involving Yousef Omar Barasneh during the period

January 1, 2019, through the present.

Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical

experts under government control) are authorized to review the records produced by

the Provider in order to locate the things particularly described in this Warrant.

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 140f16 Document 1
 

 

CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF
EVIDENCE 902(11) AND 902(13)

I, , attest, under penalties of perjury by
the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the
information contained in this certification is true and correct. I am employed by
AT&T, and my title is . Tam qualified to
authenticate the records attached hereto because I am familiar with how the
records were created, managed, stored, and retrieved. I state that the records
attached hereto are true duplicates of the original records in the custody of AT&T.
The attached records consist of [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:

a. all records attached to this certificate were made at or near the time of
the occurrence of the matter set forth by, or from information transmitted by, a
person with knowledge of those matters, they were kept in the ordinary course of
the regularly conducted business activity of AT&T, and they were made by AT&T as

a regular practice; and

b. such records were generated by AT&T’s electronic process or system

that produces an accurate result, to wit:

1. the records were copied from electronic device(s), storage
medium(s), or file(s) in the custody of AT&T in a manner to ensure that they are

true duplicates of the original records; and

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 15o0f16 Document 1
 

2. the process or system is regularly verified by AT&T, and at all

times pertinent to the records certified here the process and system functioned

properly and normally.

I further state that this certification is intended to satisfy Rules 902(11) and

902(13) of the Federal Rules of Evidence.

 

Date Signature

Case 2:20-mj-00811-WEC Filed 01/16/20 Page 16 of16 Document 1

 
